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                                                                                                                                         Join or Log Into Facebook
                                      Sign Up




     Our Statement of Rights and Responsibilities is changing to our Terms of Service. You can view our previous Statement of Rights and Responsibilities here.


           1. Our Services


           2. Our Data Policy and Your Privacy
                                                                  Terms of Service
           Choices


           3. Your Commitments to Facebook
           and Our Community                                      Welcome to Facebook!

           4. Additional provisions                               These Terms govern your use of Facebook and the products, features,
                                                                  apps, services, technologies, and software we offer (the Facebook
           5. Other terms and policies that                       Products or Products), except where we expressly state that separate
           may apply to you                                       terms (and not these) apply.

                  Facebook Ads Controls

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                  Privacy Basics

                                                                   1. Our Services
                  Cookies Policy
                                                                   Our mission is to give people the power to build community and bring the world closer
                                                                   together. To help advance this mission, we provide the Products and services described
                  Data Policy                                      below to you:

                                                                          Provide a personalized experience for you:
                  More Resources
                                                                          Your experience on Facebook is unlike anyone else's: from the posts,
                  •   View a printable version of the Terms               stories, events, ads, and other content you see in News Feed or our video
                      of Service                                          platform to the Pages you follow and other features you might use, such
                                                                          as Trending, Marketplace, and search. We use the data we have - for
                                                                          example, about the connections you make, the choices and settings you
                                                                          select, and what you share and do on and off our Products - to
                                                                          personalize your experience.

                                                                          Connect you with people and organizations you care about:
                                                                          We help you find and connect with people, groups, businesses,
                                                                          organizations, and others that matter to you across the Facebook
                                                                          Products you use. We use the data we have to make suggestions for you
                                                                          and others - for example, groups to join, events to attend, Pages to follow
                                                                          or send a message to, shows to watch, and people you may want to
                                                                          become friends with. Stronger ties make for better communities, and we
                                                                          believe our services are most useful when people are connected to
                                                                          people, groups, and organizations they care about.

                                                                          Empower you to express yourself and communicate about what
                                                                          matters to you:
                                                                          There are many ways to express yourself on Facebook and to
                                                                          communicate with friends, family, and others about what matters to you -
                                                                          for example, sharing status updates, photos, videos, and stories across
                                                                          the Facebook Products you use, sending messages to a friend or several
                                                                          people, creating events or groups, or adding content to your profile. We
                                                                          also have developed, and continue to explore, new ways for people to use
                                                                          technology, such as augmented reality and 360 video to create and share
                                                                          more expressive and engaging content on Facebook.

                                                                          Help you discover content, products, and services that may interest
                                                                          you:
                                                                          We show you ads, offers, and other sponsored content to help you
                                                                          discover content, products, and services that are offered by the many
                                                                          businesses and organizations that use Facebook and other Facebook
                                                                          Products. Our partners pay us to show their content to you, and we
                                                                          d                      h h              d                         l
       https://web.archive.org/web/20180713015950/http://facebook.com/terms                                                                                          1/7
                        Case 3:22-cv-02366-RS design our services
                                               Document       16-2so that the sponsored
                                                                       Filed  06/08/22content
                                                                                         Page you3see
                                                                                                   of is8 as relevant
                                                           and useful to you as everything else you see on our Products.

                                                           Combat harmful conduct and protect and support our community:
                                                           People will only build community on Facebook if they feel safe. We
                                                           employ dedicated teams around the world and develop advanced
                                                           technical systems to detect misuse of our Products, harmful conduct
                                                           towards others, and situations where we may be able to help support or
                                                           protect our community. If we learn of content or conduct like this, we will
                                                           take appropriate action - for example, offering help, removing content,
                                                           blocking access to certain features, disabling an account, or contacting
                                                           law enforcement. We share data with other Facebook Companies when
                                                           we detect misuse or harmful conduct by someone using one of our
                                                           Products.

                                                           Use and develop advanced technologies to provide safe and
                                                           functional services for everyone:
                                                           We use and develop advanced technologies - such as artificial
                                                           intelligence, machine learning systems, and augmented reality - so that
                                                           people can use our Products safely regardless of physical ability or
                                                           geographic location. For example, technology like this helps people who
                                                           have visual impairments understand what or who is in photos or videos
                                                           shared on Facebook or Instagram. We also build sophisticated network
                                                           and communication technology to help more people connect to the
                                                           internet in areas with limited access. And we develop automated systems
                                                           to improve our ability to detect and remove abusive and dangerous
                                                           activity that may harm our community and the integrity of our Products.

                                                           Research ways to make our services better:
                                                           We engage in research and collaborate with others to improve our
                                                           Products. One way we do this is by analyzing the data we have and
                                                           understanding how people use our Products. You can learn more about
                                                           some of our research efforts.

                                                           Provide consistent and seamless experiences across the Facebook
                                                           Company Products:
                                                           Our Products help you find and connect with people, groups, businesses,
                                                           organizations, and others that are important to you. We design our
                                                           systems so that your experience is consistent and seamless across the
                                                           different Facebook Company Products that you use. For example, we use
                                                           data about the people you engage with on Facebook to make it easier for
                                                           you to connect with them on Instagram or Messenger, and we enable you
                                                           to communicate with a business you follow on Facebook through
                                                           Messenger.

                                                           Enable global access to our services:
                                                           To operate our global service, we need to store and distribute content
                                                           and data in our data centers and systems around the world, including
                                                           outside your country of residence. This infrastructure may be operated
                                                           or controlled by Facebook, Inc., Facebook Ireland Limited, or its affiliates.




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                                                     2. Our Data Policy and Your Privacy
                                                     Choices




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                                                     3. Your Commitments to Facebook and
                                                     Our Community
                                                     We provide these services to you and others to help advance our mission. In exchange, we
                                                     need you to make the following commitments:

                                                           1. Who can use Facebook
                                                           When people stand behind their opinions and actions, our community is
                                                           safer and more accountable. For that reason, you must:

                                                                   Use the same name that you use in everyday life.
                                                                   Provide accurate information about yourself.
                                                                   Create only one account (your own) and use your timeline for
                                                                   personal purposes.
                                                                   Not share your password, give access to your Facebook account
                                                                   to others, or transfer your account to anyone else (without our
                                                                   permission).

                                                           We try to make Facebook broadly available to everyone, but you cannot
                                                           use Facebook if:

                                                                   You are under 13 years old.
                                                                   You are a convicted sex offender.
                                                                   We previously disabled your account for violations of our terms
                                                                   or policies.
                                                                   You are prohibited from receiving our products, services, or
                                                                   software under applicable laws.


                                                           2. What you can share and do on Facebook
                                                           We want people to use Facebook to express themselves and to share
                                                           content that is important to them, but not at the expense of the safety
                                                           and well-being of others or the integrity of our community. You therefore
                                                           agree not to engage in the conduct described below (or to facilitate or
                                                           support others in doing so):

                                                               1. You may not use our Products to do or share anything:

                                                                        That violates these Terms, our Community Standards, and
                                                                        other terms and policies that apply to your use of Facebook.
                                                                        That is unlawful, misleading, discriminatory or fraudulent.
                                                                        That infringes or violates someone else's rights.

                                                               2. You may not upload viruses or malicious code or do anything that
                                                                  could disable, overburden, or impair the proper working or
                                                                  appearance of our Products.
                                                               3. You may not access or collect data from our Products using
                                                                  automated means (without our prior permission) or attempt to
                                                                  access data you do not have permission to access.

                                                           We can remove content you share in violation of these provisions and, if
                                                           applicable, we may take action against your account, for the reasons
                                                           described below. We may also disable your account if you repeatedly
                                                           infringe other people's intellectual property rights.
                                                           To help support our community, we encourage you to report content or
                                                           conduct that you believe violates your rights (including intellectual
                                                           property rights) or our terms and policies.

                                                           3. The permissions you give us
                                                           We need certain permissions from you to provide our services:

                                                               1. Permission to use content you create and share: You own the
                                                                  content you create and share on Facebook and the other Facebook
                                                                  Products you use, and nothing in these Terms takes away the rights
                                                                  you have to your own content You are free to share your content
https://web.archive.org/web/20180713015950/http://facebook.com/terms                                                                     3/7
                                                you have to
                        Case 3:22-cv-02366-RS Document      your own
                                                          16-2       content.
                                                                  Filed       You are free
                                                                        06/08/22      Page to share
                                                                                               5 of your
                                                                                                    8 content
                                                                 with anyone else, wherever you want. To provide our services,
                                                                 though, we need you to give us some legal permissions to use that
                                                                 content.
                                                                 Specifically, when you share, post, or upload content that is covered
                                                                 by intellectual property rights (like photos or videos) on or in
                                                                 connection with our Products, you grant us a non-exclusive,
                                                                 transferable, sub-licensable, royalty-free, and worldwide license to
                                                                 host, use, distribute, modify, run, copy, publicly perform or display,
                                                                 translate, and create derivative works of your content (consistent
                                                                 with your privacy and application settings). This means, for example,
                                                                 that if you share a photo on Facebook, you give us permission to
                                                                 store, copy, and share it with others (again, consistent with your
                                                                 settings) such as service providers that support our service or other
                                                                 Facebook Products you use.
                                                                 You can end this license any time by deleting your content or
                                                                 account. You should know that, for technical reasons, content you
                                                                 delete may persist for a limited period of time in backup copies
                                                                 (though it will not be visible to other users). In addition, content you
                                                                 delete may continue to appear if you have shared it with others and
                                                                 they have not deleted it.
                                                               2. Permission to use your name, profile picture, and information
                                                                  about your actions with ads and sponsored content: You give us
                                                                  permission to use your name and profile picture and information
                                                                  about actions you have taken on Facebook next to or in connection
                                                                  with ads, offers, and other sponsored content that we display
                                                                  across our Products, without any compensation to you. For
                                                                  example, we may show your friends that you are interested in an
                                                                  advertised event or have liked a Page created by a brand that has
                                                                  paid us to display its ads on Facebook. Ads like this can be seen only
                                                                  by people who have your permission to see the actions you've
                                                                  taken on Facebook. You can learn more about your ad settings and
                                                                  preferences.
                                                                 If you are under the age of eighteen (18), you represent that a
                                                                 parent or legal guardian also agrees to this section on your behalf.
                                                                 (This language is included pursuant to a court-approved legal
                                                                 settlement.)
                                                               3. Permission to update software you use or download: If you
                                                                  download or use our software, you give us permission to download
                                                                  and install upgrades, updates, and additional features to improve,
                                                                  enhance, and further develop it.


                                                           4. Limits on using our intellectual property
                                                           If you use content covered by intellectual property rights that we have
                                                           and make available in our Products (for example, images, designs, videos,
                                                           or sounds we provide that you add to content you create or share on
                                                           Facebook), we retain all rights to that content (but not yours). You can
                                                           only use our copyrights or trademarks (or any similar marks) as expressly
                                                           permitted by our Brand Usage Guidelines or with our prior written
                                                           permission. You must obtain our written permission (or permission under
                                                           an open source license) to modify, create derivative works of, decompile,
                                                           or otherwise attempt to extract source code from us.




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                                                     4. Additional provisions
                                                           1. Updating our Terms
                                                           We work constantly to improve our services and develop new features to
                                                           make our Products better for you and our community. As a result, we
                                                           may need to update these Terms from time to time to accurately reflect
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https://web.archive.org/web/20180713015950/http://facebook.com/terms                                                                        4/7
                        Case 3:22-cv-02366-RS our services and16-2
                                               Document        practices. Unless
                                                                      Filed      otherwise required
                                                                              06/08/22      Page 6byof
                                                                                                     law,
                                                                                                       8 we will
                                                           notify you before we make changes to these Terms and give you an
                                                           opportunity to review them before they go into effect. Once any updated
                                                           Terms are in effect, you will be bound by them if you continue to use our
                                                           Products.
                                                           We hope that you will continue using our Products, but if you do not
                                                           agree to our updated Terms and no longer want to be a part of the
                                                           Facebook community, you can delete your account at any time.

                                                           2. Account suspension or termination
                                                           We want Facebook to be a place where people feel welcome and safe to
                                                           express themselves and share their thoughts and ideas.
                                                           If we determine that you have violated our terms or policies, we may take
                                                           action against your account to protect our community and services,
                                                           including by suspending access to your account or disabling it. We may
                                                           also suspend or disable your account if you create risk or legal exposure
                                                           for us or when we are permitted or required to do so by law. Where
                                                           appropriate, we will notify you about your account the next time you try
                                                           to access it. You can learn more about what you can do if your account
                                                           has been disabled.
                                                           If you delete or we disable your account, these Terms shall terminate as
                                                           an agreement between you and us, but the following provisions will
                                                           remain in place: 3, 4.2-4.5

                                                           3. Limits on liability
                                                           We work hard to provide the best Products we can and to specify clear
                                                           guidelines for everyone who uses them. Our Products, however, are
                                                           provided "as is," and we make no guarantees that they always will be safe,
                                                           secure, or error-free, or that they will function without disruptions,
                                                           delays, or imperfections. To the extent permitted by law, we also
                                                           DISCLAIM ALL WARRANTIES, WHETHER EXPRESS OR IMPLIED,
                                                           INCLUDING THE IMPLIED WARRANTIES OF MERCHANTABILITY,
                                                           FITNESS FOR A PARTICULAR PURPOSE, TITLE, AND NON-
                                                           INFRINGEMENT. We do not control or direct what people and others do
                                                           or say, and we are not responsible for their actions or conduct (whether
                                                           online or offline) or any content they share (including offensive,
                                                           inappropriate, obscene, unlawful, and other objectionable content).
                                                           We cannot predict when issues might arise with our Products.
                                                           Accordingly, our liability shall be limited to the fullest extent permitted by
                                                           applicable law, and under no circumstance will we be liable to you for any
                                                           lost profits, revenues, information, or data, or consequential, special,
                                                           indirect, exemplary, punitive, or incidental damages arising out of or
                                                           related to these Terms or the Facebook Products, even if we have been
                                                           advised of the possibility of such damages. Our aggregate liability arising
                                                           out of or relating to these Terms or the Facebook Products will not
                                                           exceed the greater of $100 or the amount you have paid us in the past
                                                           twelve months.

                                                           4. Disputes
                                                           We try to provide clear rules so that we can limit or hopefully avoid
                                                           disputes between you and us. If a dispute does arise, however, it's useful
                                                           to know up front where it can be resolved and what laws will apply.
                                                           For any claim, cause of action, or dispute you have against us that arises
                                                           out of or relates to these Terms or the Facebook Products ("claim"), you
                                                           agree that it will be resolved exclusively in the U.S. District Court for the
                                                           Northern District of California or a state court located in San Mateo
                                                           County. You also agree to submit to the personal jurisdiction of either of
                                                           these courts for the purpose of litigating any such claim, and that the
                                                           laws of the State of California will govern these Terms and any claim,
                                                           without regard to conflict of law provisions.

                                                           5. Other

                                                               1. These Terms (formerly known as the Statement of Rights and
                                                                  Responsibilities) make up the entire agreement between you and
                                                                  Facebook, Inc. regarding your use of our Products. They supersede
                                                                  any prior agreements.

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                                               2. Some of the      Filed
                                                              Products we 06/08/22       Page 7 by
                                                                          offer are also governed of supplemental
                                                                                                      8
                                                                 terms. If you use any of those Products, supplemental terms will be
                                                                 made available and will become part of our agreement with you. For
                                                                 instance, if you access or use our Products for commercial or
                                                                 business purposes, such as buying ads, selling products, developing
                                                                 apps, managing a group or Page for your business, or using our
                                                                 measurement services, you must agree to our Commercial Terms. If
                                                                 you post or share content containing music, you must comply with
                                                                 our Music Guidelines. To the extent any supplemental terms
                                                                 conflict with these Terms, the supplemental terms shall govern to
                                                                 the extent of the conflict.
                                                               3. If any portion of these Terms are found to be unenforceable, the
                                                                  remaining portion will remain in full force and effect. If we fail to
                                                                  enforce any of these Terms, it will not be considered a waiver. Any
                                                                  amendment to or waiver of these Terms must be made in writing
                                                                  and signed by us.
                                                               4. You will not transfer any of your rights or obligations under these
                                                                  Terms to anyone else without our consent.
                                                               5. You may designate a person (called a legacy contact) to manage
                                                                  your account if it is memorialized. Only your legacy contact or a
                                                                  person who you have identified in a valid will or similar document
                                                                  expressing clear consent to disclose your content upon death or
                                                                  incapacity will be able to seek disclosure from your account after it
                                                                  is memorialized.
                                                               6. These Terms do not confer any third-party beneficiary rights. All of
                                                                  our rights and obligations under these Terms are freely assignable
                                                                  by us in connection with a merger, acquisition, or sale of assets, or
                                                                  by operation of law or otherwise.
                                                               7. You should know that we may need to change the username for
                                                                  your account in certain circumstances (for example, if someone
                                                                  else claims the username and it appears unrelated to the name you
                                                                  use in everyday life).
                                                               8. We always appreciate your feedback and other suggestions about
                                                                  our products and services. But you should know that we may use
                                                                  them without any restriction or obligation to compensate you, and
                                                                  we are under no obligation to keep them confidential.
                                                               9. We reserve all rights not expressly granted to you.




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                                                     5. Other terms and policies that may
                                                     apply to you
                                                       Community Standards: These guidelines outline our standards regarding the content
                                                       you post to Facebook and your activity on Facebook and other Facebook Products.
                                                       Commercial Terms: These terms apply if you also access or use our Products for any
                                                       commercial or business purpose, including advertising, operating an app on our
                                                       Platform, using our measurement services, managing a group or a Page for a business,
                                                       or selling goods or services.
                                                       Advertising Policies: These policies specify what types of ad content are allowed by
                                                       partners who advertise across the Facebook Products.
                                                       Self-Serve Ad Terms: These terms apply when you use self-serve advertising interfaces
                                                       to create, submit, or deliver advertising or other commercial or sponsored activity or
                                                       content.
                                                       Pages, Groups and Events Policy: These guidelines apply if you create or administer a
                                                       Facebook Page, group, or event, or if you use Facebook to communicate or administer
                                                       a promotion.
                                                       Facebook Platform Policy: These guidelines outline the policies that apply to your use
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                                                     of our Platform (for16-2   Filed
                                                                          example,      06/08/22
                                                                                   for developers     Page 8ofofa 8
                                                                                                  or operators    Platform application or
                                                                    website or if you use social plugins).
                                                                    Developer Payment Terms: These terms apply to developers of applications that use
                                                                    Facebook Payments.
                                                                    Community Payment Terms: These terms apply to payments made on or through
                                                                    Facebook.
                                                                    Commerce Policies: These guidelines outline the policies that apply when you offer
                                                                    products and services for sale on Facebook.
                                                                    Facebook Brand Resources: These guidelines outline the policies that apply to use of
                                                                    Facebook trademarks, logos, and screenshots.
                                                                    Music Guidelines: These guidelines outline the policies that apply if you post or share
                                                                    content containing music on Facebook.

                                                                 Date of Last Revision: April 19th, 2018




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Sign Up     Log In   Messenger    Facebook Lite   Mobile    Find Friends     People     Pages    Places   Games    Locations     Marketplace   Groups   Recipes   Sports
Instagram    Local   About   Create Ad    Create Page      Developers      Careers    Privacy   Cookies   Ad Choices     Terms      Help


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